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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS

    JOHN DOE,
                   Plaintiff
          v.                                                 Civil Action No: 1:19-cv-11626-DPW

    TRUSTEES OF BOSTON COLLEGE,
                   Defendant

       MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

                                               RELEVANT FACTS

         A.       Roe’s Complaint of Sexual Assault Against Doe

         On November 7, 2018, a female BC student, referred to in this case as Jane Roe, reported

to an Associate Dean, who also was BC’s Student Title IX Coordinator, that John Doe had

engaged in sexual contact with her, including vaginal penetration with his penis, without her

consent. Compl. ¶ 111. On December 7, Roe told the Associate Dean that she wanted to go

forward with a formal complaint against Doe. Id. ¶ 113. On December 14, the Associate Dean

met with Doe and informed him of Roe’s allegations. Id. ¶¶ 42, 117. On January 23, 2019, Doe

received formal, written notice that Roe accused him of “engaging in non-consensual sexual

contact through kissing and touching of intimate body parts and penetrating her vagina with [his]

penis without her consent while [she] was incapacitated,” which, if established, would be a

violation of the Sexual Misconduct Policy in the Code of Student Conduct. Id. ¶¶ 120-21.

         B.       The Student Sexual Misconduct Policy

         Roe’s complaint was addressed pursuant to BC’s 2018-2019 Student Sexual Misconduct

Policy, which was incorporated in the Student Guide. Ex. A; Ex. B at 2; Ex. C at 5.1 The Policy


1
  Exhibits cited are to the Declaration of Elizabeth H. Kelly, filed herewith. The Policy and the conduct procedures
in the Student Guide are integral to and cited throughout the Complaint and thus are properly before the Court in
connection with BC’s Motion. See Ironshore Specialty Ins. Co. v. United States, 871 F.3d 131, 135 (1st Cir. 2017).

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prohibits students from engaging in sexual conduct with a person without that person’s “clear

and voluntary agreement to engage in particular sexual activity, communicated through mutually

understandable words or actions.” Ex. A at 5. The Policy goes on to state:

           Consent is always freely informed and actively given. Silence or lack of
           resistance cannot be assumed to imply consent. Consent must be ongoing, and
           it may be withdrawn at any time. Consent for one sexual act does not imply
           consent for any subsequent sexual activity. … Consent cannot be obtained
           from an individual who is incapable of giving consent because the person …
           [i]s incapacitated, including through the consumption of alcohol or drugs. Id.

       Pursuant to the Policy, complaints of sexual assault are investigated by one or more

internal or external investigators who are trained in sexual misconduct investigations. Ex. A at

11-12. The investigators interview the complainant and the respondent, interview other

witnesses with relevant information, and otherwise gather any relevant evidence. Id. at 13. The

complainant and respondent each have the opportunity to present written statements, review and

comment on the investigators’ summaries of their own interviews, identify any relevant

witnesses, submit any relevant evidence, review the evidence collected by the investigators, and

provide written comments on that evidence before the investigators reach a final determination.

Id. The investigators then issue a final report, which includes their determination as to whether

the respondent engaged in conduct which violates the Sexual Misconduct Policy, using the

preponderance of the evidence standard. Id. at 12-13.

       The final report is provided to the Title IX Coordinator and the Office of the Dean of

Students for review and approval and, if a violation has been found, a determination of the

appropriate sanction(s). Id. at 13. The complainant and respondent each have the right to appeal

the outcome on the basis that either a material procedural violation or information previously

unavailable to the appealing party likely would have affected the outcome. Id. at 14; Ex. B at 7.

       The Student Guide provides that students involved in conduct proceedings have the “right


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to a fair procedure, which is appropriate to the circumstances,” Ex. C at 2, and ensures

“fundamental fairness to the complainant and to the respondent.” Ex. B at 2; Compl. ¶ 188.

         C.       The Investigation

         An assistant dean at BC and an external investigator were assigned to conduct an

investigation and determine whether the evidence supported a finding that Doe engaged in non-

consensual sexual activity with Roe. Compl. ¶¶ 119-21. The investigators conducted multiple

interviews of both Roe and Doe, interviewed 16 other witnesses, and reviewed text messages and

other evidence. Id. at ¶¶ 119, 125, 127, 131; see also Ex. D a 3-9.2 Doe had the assistance of

counsel throughout the investigation. Id.; Compl. ¶ 125. At all times during the investigation,

including his interviews with the investigators, Doe had the opportunity to offer evidence and

identify witnesses who might be helpful to his case and was free to suggest lines of questioning

for the investigators to ask of Roe and other witnesses. Compl. ¶¶125-33; Ex. A at 12-13.

         At the conclusion of the investigation, the investigators prepared a binder of all the

evidence they had collected, including summaries of all the interviews they conducted, which

was made available to Roe, Doe, and Doe’s attorney. Compl. ¶¶ 135-36; Ex. D at 8-9. Doe

submitted a lengthy response, including detailed arguments about Roe’s account of the events at

issue and her credibility. Ex. D at 9; Compl. ¶¶ 137-38. After reviewing Doe’s comments, the

investigators completed their report. Compl. ¶¶ 138-41.

         D.       The Investigators’ Findings

         The investigators summarized their findings, including the accounts offered by Roe and

Doe, in relevant part as follows:




2
 The investigation report is integral to and referenced throughout the Complaint and thus is properly before the
Court. See supra note 1.


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        At around 1:30 a.m. on November 4, 2018, Doe encountered Roe at a “late night” dining

facility on campus and he joined her in line to get food. Ex. D at 21.3 Roe, Doe, and three of

Doe’s friends went to Doe’s suite to eat. Id. at 32. After Doe’s friends left, Roe and Doe went

into Doe’s room. Id.

        Roe had been at a party drinking vodka that night and said that she had a fragmented

memory of what transpired in Doe’s room. Id. at 32. She recalled being on Doe’s bed and Doe

kissing her neck. Id. at 33. She acknowledged that she might have asked Doe to kiss her neck.

Id. Roe recalled that Doe took her shorts off and that she lifted her back so he could do so. Id.

When Doe tried to take off her underwear, she recalled “scooching up the bed” and saying “No,

you don’t get to take my underwear off.” Id. Roe said she then realized that Doe was on top of

her and penetrating her vagina with his penis while she still had her underwear on. Id. She

recalled Doe telling her to flip over onto her stomach, but she did not recall if she did so or not.

Id. at 34. She recalled that her head was turned to the side, Doe was on top of her, and she said,

“Stop” or “Stop, stop, can we stop?” Id. Roe recalled that Doe then said, “Oh no, something’s

wrong,” at which point he stopped penetrating her and jumped off the bed. Id.

        According to Doe’s version of the events, he and Roe were in bed “grinding” against

each other; she asked him to kiss her neck; she said, “I know you want to do it”; she told him to

“get a condom”; and they discussed why he had not put it on yet. Id. at 38, 39. Doe

acknowledged that Roe told him that he was not allowed to take off her underwear, but he said

that she then pulled her underwear to the side. Id. Doe said that he then put a condom on and

penetrated her vagina with his penis; during the penetration Roe said several things indicating

her consent; and they stopped having sex because Roe said her back hurt. Id. at 40-41.


3
 Roe alleged that Doe put his arm around her waist and pulled her toward him while they were in line, without her
consent. Id. at 31. The investigators found that Doe reasonably believed Roe had consented to this. Id. at 32.

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       In his first interview, Doe said that he and Roe had no conversation immediately prior to

his penetration of her and that he did not recall Roe telling him to penetrate her. Id. In his

second interview, after reviewing his attorney’s notes from the first interview, Doe claimed to

have said in his first interview that Roe said, “Do it” right before he penetrated her. Id. at 40, 34

n.74. The investigators did not credit Doe’s account based on their notes and recollection of the

first interview, as reflected in their written summary of it, to which Doe had signed off. Id.

        On December 7, 2017, after Doe learned that Roe was considering a complaint against

him for nonconsensual sex, Doe and Roe met to discuss their encounter. Id. at 51-52. Before the

meeting, Doe texted Roe that he “just wanted to clear things up.” Id. at 51. It was undisputed

that during this conversation, Doe gave Roe “his take” on what happened, id. at 52, but in doing

so he never told Roe that she said, “Do it,” or “get a condom”; he did not claim that she pulled

her underwear to the side; he did not claim that she said “go slow” while he was penetrating her;

and he did not claim she said her back hurt. Id. at 54.

       The investigators found that Roe was incapacitated at the time of the encounter as a result

of her drinking that night, but they also found that Doe did not know nor should he reasonably

have known that she was incapacitated. Id. at 56-58. The investigators found that Roe

communicated consent to certain aspects of her interaction with Doe, but that she never

expressed affirmative consent to Doe’s penetration of her. Id. at 58-62.

       Central to the investigators’ conclusion that Roe never communicated consent to

penetration was the fact, which Doe did not dispute, that Roe told Doe not to remove her

underwear. Id. at 59. Doe said he thought that meant only that Roe did not want him to see her

pubic hair, but the investigators credited Roe’s account that she did not care about that, and in

any event Doe’s inference about why Roe wanted him not to remove her underwear was not an

affirmative communication by Roe that she consented to penetration. Id. at 39, 59, 61. The

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investigators also found it more likely than not that Roe never pulled her underwear to the side,

as she credibly stated that was not something she ever had done while having sex. Id. at 60-61.

       The investigators also found it significant that Doe made several assertions that were

central to his defense only once the formal investigation was underway, and not in his earlier

meeting with Roe when they met to discuss what had happened, and that Doe’s story changed in

certain respects between his first and second interviews. Id. at 60-62. The investigators found it

was more likely than not that Roe did not say “Do it.” Id. at 60. They also found that whatever

conversation the parties had about a condom, which was unclear, was not sufficient to

demonstrate that Roe expressed affirmative consent to penetration. Id. at 60-61.

       After weighing all of the evidence, the investigators found it was more likely than not

that Doe had penetrated Roe without her “clear and voluntary agreement … communicated

through mutually understandable words or action,” and accordingly that he had committed

sexual misconduct in violation of BC’s Code of Conduct. Id. at 62.

       E.      The Sanction and Appeal

       The investigators’ report was reviewed and approved by BC’s Student Title IX

Coordinator and the Associate Dean of Students. Compl. ¶ 142. Doe was suspended for one

year, to be followed by one year of university probation. Id. at ¶ 145.

       Doe appealed, claiming there were several procedural errors in relation to the

investigation and findings and claiming there was new evidence that was previously unavailable

to him – i.e., one of Doe’s suitemates, whom the investigators had interviewed, had told Doe that

while he was in the common area of the suite, he “heard unambiguous signs of consensual sex”

coming from Doe’s room. Id. ¶¶ 146-148; see also Ex. E at 17.

       The appeal was reviewed by BC’s Vice President for Student Affairs. Id. ¶ 149. She

determined that Doe had not demonstrated any procedural error; rather, his procedural arguments

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amounted to disagreements with the investigators’ determinations about the credibility of the

parties and the weight of the evidence. Id. at ¶ 150. She also determined that Doe had not

shown the “new” evidence was unavailable at the time of the investigation, in light of the fact

that the suitemate had been interviewed by the investigators with respect to his observations

during the events at issue, and in any event Doe had not shown that this “new” evidence likely

would have changed the outcome of the investigation. Id. at ¶ 151; Ex. F at 6.

                                                  ARGUMENT

I.      THE COMPLAINT FAILS TO STATE A CLAIM.

        A.       Counts II and III – Breach of Contract and Basic Fairness

                 1.       Standard of Review

        It is well-settled in Massachusetts that private educational institutions are to be afforded

appropriate deference in relation to the procedures they adopt for addressing allegations of

student misconduct,4 and that those procedures cannot successfully be challenged in court so

long as they afford the student “basic” or “fundamental” fairness, which means notice of the

allegations against the student, a meaningful opportunity to be heard, and an outcome that is not

arbitrary and capricious. Cloud v. Trs. of Bos. Univ., 720 F.2d 721, 724-25 (1st Cir. 1983);

Schaer, 432 Mass. at 478, 735 N.E.2d at 378; Coveney, 388 Mass. at 19, 445 N.E.2d at 138-39;

Driscoll v. Trs. of Milton Acad., 70 Mass. App. Ct. 285, 295, 873 N.E.2d 1177, 1187 (2007). To

determine whether a college has complied with its procedures, the Court applies the standard of

“reasonable expectation” – “what meaning the party making the manifestation, the university,

should reasonably expect the other party [the student] to give it.” Walker v. Pres. & Fellows of


4
 Havlik v. Johnson & Wales Univ., 509 F.3d 25, 35 (1st Cir. 2007); Russell v. Salve Regina Coll., 890 F.2d 484, 489
(1st Cir. 1989), rev’d on other grounds, 499 U.S. 225 (1991); Schaer v. Brandeis Univ., 432 Mass. 474, 482, 735
N.E.2d 373, 381 (2000); Coveney v. Pres. & Trs. of Coll. of Holy Cross, 388 Mass. 16, 22, 445 N.E.2d 136, 140
(1983).


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Harvard Coll., 840 F.3d 57, 61 (1st Cir. 2016) (quoting Schaer, 432 Mass. at 478, 735 N.E.2d at

378).

        Where, as in this case, a university’s procedures contain an explicit promise of

“fundamental fairness,” any implied promise of “basic fairness … becomes superfluous and the

court’s [determination whether] the disciplinary proceedings were ‘conducted with basic

fairness’… focuses on assuring compliance with the express contractual promise” – i.e., whether

the university substantially complied with its stated policies. Doe v. Trs. of Bos. Coll., 892 F.3d

67, 88 (1st Cir. 2018); see also Doe v. Vanderbilt Univ., No. 3:18-CV-00569, 2019 WL

4748310, at *15 (M.D. Tenn. Sept. 30, 2019) (the “implied covenant of good faith and fair

dealing creates a duty to provide basic fairness,” which the university meets “by complying with

the terms of the [its stated policies for student conduct proceedings], that are designed to be

fair”); Doe v. Trs. of the Univ. of Penn., 270 F. Supp. 3d 799, 812 (E.D. Pa. 2017) (“promises of

‘fairness’ do not give rise to ‘fairness’ obligations that are independent of, and separate from, the

obligations imposed by the more specific provisions in the Disciplinary Procedures, which

themselves describe proceedings designed to be ‘fair’”); Fellheimer v. Middlebury Coll., 869 F.

Supp. 238, 244 (D. Vt. 1994) (same).

        A university’s obligation to provide “due process and fundamental fairness” is satisfied

as long as the university complies with its procedures and those procedures afford the student

notice of the charges against him and the opportunity to present evidence including witnesses in

his defense – giving no regard to arguments that different or additional procedures were needed

to afford “basic fairness.” See Doe v. Trs. of Bos. Coll., 892 F.3d at 82-83 (rejecting the

argument that a Hearing Board lacked “investigatory training” where the university’s policies did

not require it); id. at 88 (rejecting the argument that a hearing date was unfair because “the

Student Guide’s language [about scheduling] is dispositive”).

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                 2.       Doe’s Contract and Fairness Claims All Fail as a Matter of Law.

                          a.      Doe was not entitled to confront and cross-examine Roe.

        Doe claims BC deprived him of “basic fairness” because its procedures did not afford

him the opportunity to confront or cross-examine Roe and other witnesses. Compl. ¶¶ 252-55.

That argument is foreclosed by the First Circuit’s decision in Doe v. Trs. of Bos. Coll., which

held that where, as in this case, the university makes an explicit promise of fundamental fairness,

the Court’s inquiry is limited to ensuring compliance with the university’s stated procedures; i.e.,

the implied obligation of “basic fairness” does not create procedural obligations different from or

in addition to the procedures the university has adopted. 892 F.3d at 83, 88.

        Moreover, it is well-established in Massachusetts that private institutions such as BC are

not required to provide students with constitutional due process rights, such as the right to

confrontation or cross-examination, prior to imposing discipline,5 and the First Circuit’s decision

in Haidak v. Univ. of Mass.-Amherst, 933 F.3d 56 (1st Cir. 2019), is not to the contrary. The

Court in Haidak addressed only the question whether the constitutional due process rights of a

public university student accused of sexual misconduct included a right to cross-examination of

his accuser. Id. at 65-66. The Court did not address the question whether or under what

circumstances a private university student may have a right to cross-examination as a matter of

“basic fairness,” much less overrule, or distinguish, its recent holding in Doe v. Trs. of Bos. Coll.

        Even if the holding in Haidak did apply to private institutions, the process that BC

afforded to Doe meets Haidak’s requirements in any event. The First Circuit held that where

sexual misconduct allegations turn on issues of credibility, “due process in the university




5
 See Coveney, 388 Mass. at 21, 445 N.E.2d at 140 ; Driscoll, 70 Mass. App. Ct. at 295, 873 N.E.2d at 1187; see
also Bleiler v. Coll. of Holy Cross, No. 11–CV–11541–DJC, 2013 WL 4714340, at *4 (D. Mass. Aug. 26, 2013);
Dehaan v. Brandeis Univ., 150 F. Supp. 626, 627 (D. Mass. 1957); Schaer, 432 Mass.at 482, 735 N.E.2d at 381.

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disciplinary setting requires ‘some opportunity for real-time cross-examination, even if only

through a hearing panel.’” 933 F.3d at 69 (quoting an amicus brief). The Court concluded that

the hearing board in Haidak met that requirement because it “questioned [the complainant] at

length on the matters central to the charges”; it “probed for detail and required [the complainant]

to clarify ambiguities in her responses”; it “inquired into her level of intoxication”; and “[b]y

alternating between questioning Haidak and [the complainant], ultimately examining each

student three times, it engaged in an iterative process in which its questioning of [the

complainant] was informed in real time by Haidak’s testimony as the proceedings unfolded.” Id.

Although the Court expressed other criticisms of the hearing process, it concluded that “[a]ll in

all, the Board managed to conduct a hearing reasonably calculated to get to the truth by allowing

Haidak to be heard after [the complainant] testified and by examining [the complainant] in a

manner reasonably calculated to expose any relevant flaws in her claims.” Id. at 71. As a result,

the Court found that the hearing afforded Haidak due process. Id.

        Doe’s proceedings satisfied all of these essential requirements. The investigators

engaged in an iterative process, in which they conducted alternating interviews of the parties,

interviewing Doe twice and Roe three times. Ex. D at 3-5. Their report amply demonstrates that

the investigators probed Roe’s account of the incident in detail, including in relation to her

degree of intoxication, her ability to recall the events at issue, and her responses to Doe’s

accounts of what transpired. Id. at 9-56. They interviewed Doe twice, during which they

informed him of Roe’s statements and gave him an opportunity to respond and identify key

points for further questioning of Roe, which the investigators pursued. Id.6 When Doe identified


6
  For example, Doe claimed in his interview that Roe was “grinding” against him and said, “kiss my neck,” “I know
you want to do it,” “Do it,” and “get a condom.” Ex. D at 38-39. The investigators then questioned Roe in detail
about these statements. Id. at 33-35. As another example, Doe claimed that Roe pulled her underwear to the side
and switched positions during the sexual encounter. Id. at 39. The investigators then questioned Roe closely about
that. Id. at 34-35. For another example, both Roe and Doe offered testimony about statements the other party made

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new facts in his second interview, they probed him on the inconsistencies, just as they probed

Roe, and as a result of the new information, they interviewed Roe a third time. Id.

        The investigation thus was entirely consistent with the “inquisitorial,” and “iterative”

process in Haidak that the First Circuit deemed sufficient to satisfy the requirements of

procedural due process. The proceedings in this case also involved “real time” cross-

examination, insofar as the parties and other witnesses had to submit to live interviews by the

investigators, rather than being allowed to merely submit written statements or written answers

to specific questions. Such live questioning is an important aspect of the investigators’ ability to

make the necessary credibility determinations and “get to the truth.” Haidak, 933 F.3d at 71.

                          b.       BC provided adequate notice to Doe.

        Doe claims BC failed to provide adequate notice of the charges against him because the

written notice focused on Roe’s alleged incapacitation and failed to put him on notice of the need

to defend himself against a claim of nonconsensual sex regardless of incapacitation. Compl. ¶¶

232-51. Id. The written notice undercuts his claim completely. It provides the details of Roe’s

allegation – that Doe engaged in “non-consensual sexual contact through kissing and touching of

intimate body parts and penetrating [Roe’s] vagina with [his] penis without [her] consent while

[she] was incapacitated.” Id. ¶ 121. The notice was not limited to the allegation that consent was

absent solely because Roe was incapacitated. It said that Doe allegedly engaged in sexual

contact with Roe “without her consent while [she] was incapacitated” (emphasis added), not that

Doe engaged in sexual contact “without her consent because [she] was incapacitated.”

        It also is clear from the investigative report that Doe knew Roe’s consent was at issue,

regardless of her alleged incapacitation. Doe offered the investigators evidence of what he



– or did not make – during their conversation about the incident, before Roe moved forward with her complaint. Id.
at 33, 41. The investigators questioned each of them about these alleged statements and omissions. Id. at 52-55.

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claimed were affirmative expressions of Roe’s consent, including her alleged statements “Do it”

“go slow,” etc. Ex. D at 61.

                       c.      Doe had no right to review the evidence until it was assembled.

       Doe claims BC breached its obligation of fairness because he was not permitted to review

the evidence until it all was assembled. Compl. ¶ 256-58. Doe cites no requirement in BC’s

policies that it provide him access to evidence before he was interviewed or contemporaneously

as the evidence was gathered. The claim fails for that reason alone. Moreover, Doe and his

attorney had access to all the evidence and the opportunity to comment on it before the

investigators made any findings or prepared their final report. Ex. D at 8-9. The process was

entirely fair and consistent with BC’s policy.

                       d.      Doe was not denied an “effective” appeal.

       Doe claims he was denied the right to an “effective” appeal because he could not appeal

on the basis that the investigators’ decision was not supported by the evidence or was “unfair,

unwise, or simply wrong.” Compl. ¶ 259-63 (citing Doe v. Brandeis Univ., 177 F. Supp. 3d 561,

607 (D. Mass. 2016)). BC allows appeals only on the basis of a material procedural error or new

evidence which was not available to the appellant at the time of the original decision and which

likely would affect the outcome. Id. There is nothing unfair about that. See Doe v. Trs. of Bos.

Coll., 892 F.3d at 88 (in analyzing the fairness of student disciplinary proceedings, the court

limits it review to compliance with express contractual promises).

       Moreover, it is well-settled that universities need not afford students any right to appeal a

disciplinary decision. Winnick v. Manning, 460 F.2d 545, 549 n.5 (2d Cir. 1972); Gomes v.

Univ. of Maine Sys., 365 F. Supp. 2d 6, 14 (D. Me. 2005). It follows that when universities do

provide for appeals, they can limit the grounds for them, and that where a university limits an

appeal to procedural grounds, a student has no expectation of a review of the merits of the case.

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See Gomes, 365 F. Supp. 2d at 33.

       The Brandeis case on which Doe relies is easily distinguished. The student in that case

could appeal only on the basis of procedural error, but that was just one factor among many

Judge Saylor considered in determining that the plaintiff had been denied a fair process,

including, unlike in this case, that the plaintiff was not provided notice of the numerous

allegations against him, he was prevented from providing witnesses and evidence, he was denied

the assistance of an attorney, and he was not allowed to review the evidence against him until the

entire proceeding was over. 177 F. Supp. 3d at 604-07. Brandeis also was decided before the

First Circuit’s decision in Doe v. Trs. of Bos. Coll., which rejected the proposition that basic

fairness can require procedures different from a university’s express contractual promises.

       At the preliminary injunction hearing in this case, the Court expressed concern that the

appellate officer may not have applied the proper standard in relation to Doe’s claim of “new”

evidence. The letter denying Doe’s appeal in fact recites and applies the correct standard, from

Section 5.6 of the Student Guide. Ex. F at 1, 6. The fact that the appellate officer, later in that

paragraph, referred to the evidence as having been “available” during the investigation, rather

than using the full phrase “available to the student,” is of no consequence, because it is

undisputed that the evidence in fact was “available” to Doe. Id. at 6. Doe knew that his

suitemate had been interviewed by the investigators and had every opportunity to speak with him

to make sure that he provided any evidence that was potentially helpful to Doe. The suitemate’s

account was readily “available” to Doe, notwithstanding that Doe never collected it.

       Moreover, the appellate officer also found Doe failed to demonstrate that the “new”

evidence likely would have affected the outcome. Id. at 6. Doe’s appeal failed to include an

actual statement from the suitemate, nor did it include any specifics as to what the suitemate

claimed to have heard. Ex. F at 6.

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                       e.      Doe had no right to investigation separate from adjudication.

       Doe claims BC’s investigative model for addressing complaints of sexual misconduct is

unfair because it fails to “separate out the investigation and adjudication functions.” Compl. ¶¶

264-71. This argument, like Doe’s other fairness arguments, is foreclosed by the First Circuit’s

decision in Doe v. Trs. of Bos. Coll., because it argues for the adoption of procedures different

from BC’s express contractual promises. Combining investigative and adjudicative functions in

a single person does not violate any principle of due process or basic fairness in any event. See

Withrow v. Larkin, 421 U.S. 35, 47-55 (1975); accord Pathak v. Dep’t of Veterans Affairs, 274

F.3d 28, 33 (1st Cir. 2001); see also Doe v. Miami Univ., 882 F.3d 579, 601 (6th Cir. 2018).

                       f.      The investigation was thorough and impartial.

       Doe alleges in conclusory fashion that BC’s investigation was not thorough or impartial.

Compl. ¶¶ 190-95. His argument is not based upon any specific facts from which it could be

established that the investigation was not thorough (such as allegations that there was relevant

evidence the investigators failed to pursue) or that the investigators actually were not impartial

(such as statements by the investigators evidencing bias against him or in favor of Roe). Rather,

Doe’s claim is based merely on his disagreement with how the investigators weighed the

evidence, especially in relation to Roe’s credibility.

       The fact that the investigators made judgments about the evidence that are different from

what Doe would have preferred, or different from what another reviewer – or the Court – might

have made, is of course irrelevant. Such determinations are not subject to second-guessing in

court. See Doe v. Univ. of Dayton, 766 F. App’x 275, 288 (6th Cir. 2019) (investigator not

required to draw respondent’s preferred conclusions from the evidence); Doe v. Phillips Exeter

Acad., 2016 WL 6651310, *2 (D.N.H. Nov. 10, 2016) (It is not the court’s role to “review of the



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investigator’s factual findings and conclusions.”).7

        Doe also contends that the appellate officer was not “thorough” when she declined to

require the investigators to re-interview his suitemate. Compl. ¶ 193. As the appellate officer

correctly noted, however, Doe failed to specify in his appeal what evidence of consent the

witness would provide. Ex. F at 6. Moreover, as the appellate officer also noted, this witness

already had been interviewed by the investigators about what he saw and heard on the night in

question, and he had failed to provide any information about supposed “signs of consent” at that

time. Ex. F at 6. Doe now claims the suitemate told him that he did not disclose the information

to the investigators because they questioned him in a “hostile” manner and he feared getting into

trouble, Compl. ¶ 193 n.5, but Doe said nothing to this effect in his appeal and thus these new

allegations do not demonstrate any lack of thoroughness by the appeals officer.

        Doe has provided no facts to support his claim that the investigation was not impartial.

Such conclusory allegations are insufficient to overcome the presumption of honesty and

integrity on the part of university decision-makers. See Doe v. Trs. of Bos. Coll., 892 F.3d at 84;

Pathak, 274 F.3d at 33 (citing Withrow, 421 U.S. at 47).

                          g.       The investigators applied the correct standard of review.

        Doe claims the investigators failed to apply the preponderance of the evidence standard.

Compl. ¶¶ 196-204. Here, too, Doe’s claim is merely one of disagreement with the

investigators’ assessments of the evidence, including their assessments of credibility, which is

not the basis for a breach of contract claim. Doe’s claim rests entirely on his own account of the

events at issue, ignoring the fact that the investigators did not credit significant aspects of his


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 See also Doe v. Brown Univ., 210 F. Supp. 3d 310, 313 (D.R.I. 2016); Doe v. Univ. of the South, 687 F. Supp. 2d
744, 755 (E.D. Tenn. 2009); Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d at 14; Morale v. Grigel, 422 F. Supp.
988, 1004-05 (D.N.H. 1976); Schaer, 432 Mass. at 479 n.9, 735 N.E.2d at 379 n.9; cf. Doe v. Univ. of Denver, No.
16-CV-00152-PAB-KMT, 2018 WL 1304530, at *11 (D. Colo. Mar. 13, 2018); Yu v. Vassar Coll., 97 F. Supp. 3d
448, 462 (S.D.N.Y. 2015).

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account, as well as other evidence that supported Roe’s account. Id. ¶ 202; Ex. D at 59-62. His

arguments also fail to appreciate the Sexual Misconduct Policy’s strict requirement of

affirmative consent, which is “clearly” communicated. Ex. A at 5.

                       h.     BC did not violate any obligation of confidentiality.

       Section 5 of the Student Guide requires “all parties” to a sexual misconduct proceeding to

maintain the confidentiality of the process. Ex. B, at § 5.7.2. Doe claims BC approved of Roe’s

“violation of confidentiality” when she reported to a university official that Doe had sex with her

without her consent. Compl. ¶¶ 205-10. Doe admits that at the time Roe made this report, she

had not yet made a formal complaint. Id. ¶¶ 110-13. There were no “parties” to a student

conduct proceeding, and thus Roe had no obligation of confidentiality, at that point. Moreover,

it is self-evident that a university such as BC should not seek to prevent a sexual assault victim

from reporting an assault to responsible university personnel, nor rebuke a victim for doing so.

                       i.     BC did not breach its obligation to presume Doe was innocent.

       Doe claims BC failed to presume he was innocent. Compl. ¶¶ 211-16. Doe’s claim rests

on nothing but a conclusory allegation that the investigators were biased against him from the

outset. See id. As explained above, such conclusory allegations fail as a matter of law.

                       j.     BC had no obligation to complete the investigation in 60 days.

       Doe complains the investigation took longer than 60 days to complete, allegedly in

violation of BC’s policy. Compl. ¶¶ 217-24. The policy says only that BC “will endeavor to

complete the investigation within 60 working days of [its] commencement” and that “this

timeframe may be extended to ensure the integrity and completeness of the investigation.” Ex. A

at 12. Doe makes no claim that BC did not “endeavor” to timely conduct the investigation;

rather, he just complains that it took longer than he would have liked, Compl. ¶¶ 217-24,

notwithstanding the numerous interviews that had to be conducted; the large amount of evidence

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that needed to be gathered and analyzed; and the impact of holidays and exam periods, which,

the Policy recognizes as reasons to extend the time to complete an investigation. Ex. A at 12.

       B.      Count IV - Estoppel

       Doe’s promissory estoppel claim is duplicative of his breach of contract claims and fails

for the same reasons. Moreover, where, as in this case, a written contract governs a matter,

recovery under a quasi-contract theory is not available. Doe v. Brown Univ., 166 F. Supp. 3d

177, 196 (D.R.I. 2016); Doe v. Brandeis Univ., 177 F. Supp. 3d at 612-13; Trent Partners &

Assocs. Inc. v. Digital Equip. Corp., 120 F. Supp. 2d 84, 104-05 (D. Mass. 1999).

       C.      Count I - Title IX

       Doe alleges that BC discriminated against him on the basis of gender in violation of Title

IX, asserting the theory of “erroneous outcome.” Compl. ¶¶ 159-81. A student making this

claim has to show that he was innocent but wrongly found to have committed an offense and that

gender was a motivating factor in the erroneous finding. See Doe v. Colgate Univ., 760 F. App’x

22, 30 (2d Cir. 2019); Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994); accord Doe v. Trs.

of Bos. Coll., 892 F.3d at 90. Doe can show neither.

       As explained above, there are no procedural irregularities that cast any articulable doubt

on the validity of the investigators’ findings. See Doe v. Univ. of the Sciences, No. CV 19-358,

2019 WL 3413821, at *5 (E.D. Pa. July 29, 2019) (rejecting similar claims of procedural

irregularities). Nor has Doe alleged facts to establish a causal connection between the allegedly

flawed outcome and gender bias. To be actionable under Title IX, allegations of bias must

pertain to the specific individuals involved in the disciplinary proceeding at issue. See Doe v. W.

New England Univ., 228 F. Supp. 3d 154, 188-189 (D. Mass. 2017) (citing Mallory v. Ohio

Univ., 76 F. App’x 634, 640 (6th Cir. 2003)); see also Yusuf, 35 F.3d at 715; Doe v. Vanderbilt

Univ., 2019 WL 4748310, at *8; Doe v. Case Western Reserve Univ., No. 1:17 CV 414, 2019

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WL 1982266, *9, 11 (N.D. Ohio May 2, 2019); Doe v. Univ. of Denver, 2018 WL 1304530, at

*11. Doe, however, has not alleged any statements, nor any other evidence, evidencing anti-

male bias on the part of the investigators or the individuals who determined his sanction.

        Nor is Doe’s Title IX claim supported by his conclusory allegations that the Department

of Education and others have “pressured” BC and other universities to actively pursue

allegations of sexual assault on campus. Compl. ¶¶ 19-36. However, this supposed “pressure”

to take campus sexual assault seriously is gender-neutral – it does not include any alleged

“pressure” to treat men differently on the basis of their gender. See Doe v. Trs. of Bos. Coll., 892

F.3d at 92.8 Courts repeatedly have rejected conclusory allegations of pressure when, as in this

case, there is no evidence that outside pressure actually influenced the school to aggressively

pursue sexual assault cases in a biased manner. See, e.g. Doe v. Vanderbilt Univ., 2019 WL

4748310, at *9 (quoting Doe v. Baum, 903 F.3d 575, 586 (6th Cir. 2018) (“[E]xternal pressure

alone is not enough; rather, external pressure ‘combined with other circumstantial evidence of

bias in [a complainant’s] specific proceeding’ is what makes a claim plausible.”); Ruff v. Bd. of

Regents of Univ. of New Mexico, 272 F. Supp. 3d 1289, 1302 (D.N.M. 2017); Doe v. Columbia

Coll. Chicago, 299 F. Supp. 3d 939, 956 (N.D. Ill. 2017); Doe v. Univ. of Colorado, Boulder

through Bd. of Regents of Univ. of Colorado, 255 F. Supp. 3d 1064, 1078 (D. Colo. 2017).

        Doe’s allegation that only males have been suspended or expelled for sexual assault at

BC, Compl. ¶ 177, also does not show bias. See Doe v. Trs. of Bos. Coll., 892 F.3d at 92 (“The

gender of the students accused of sexual assault is the result of what is reported to the University,

and not the other way around.”). Nor is Doe’s claim supported by the allegation that BC adopted

an investigator model to “mak[e] the reporting of assaults more easily available.” Compl. ¶ 37.


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 Doe claims one aspect of this “pressure” is the Department of Education’s 2011 “Dear Colleague” Letter, Compl.
¶¶ 19-36, but the Department withdrew that Letter before the investigation in Doe’s case. Id. ¶¶ 45-47.

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Sexual assault victims can be male or female, and taking steps “make reporting easier” or

otherwise to enforce sexual misconduct rules does not evidence anti-male bias. See Austin v.

Univ. of Oregon, 205 F. Supp. 3d 1214, 1227 (D. Or. 2016), aff'd, 925 F.3d 1133 (9th Cir. 2019);

Z.J. v. Vanderbilt Univ., 355 F. Supp. 3d at 684; Doe v. Univ. of Cincinnati, 173 F. Supp. 3d 586,

602 (S.D. Ohio 2016).

       D.      Count V - Negligence

       Doe’s claim that BC was negligent in conducting an inadequate investigation, Compl. ¶¶

279-80, is barred by the First Circuit’s decision in Doe v. Trs. of Bos. Coll., 892 F.3d at 94-95

(universities owe no duty in tort with respect to student conduct proceedings). Doe’s claim for

negligent training and supervision, Compl. ¶¶ 281-82, fails because he does not allege that BC

knew any relevant employee was “unfit for her position” and he does not allege any physical

harm. See Foster v. The Loft, Inc., 26 Mass. App. Ct. 289, 289-91, 526 N.E.2d 1309, 1311

(1988); see also Saldivar v. Racine, 818 F.3d 14, 21 (1st Cir. 2016); Vicarelli v. Bus. Int’l, Inc.,

973 F. Supp. 241, 246 (D. Mass. 1997).

II.    THE COURT SHOULD RETAIN SUPPLEMENTAL JURISDICTION.

       Should the Court dismiss Doe’s Title IX claim, it should retain supplemental jurisdiction

and dismiss the remaining state-law claims for the reasons stated above.

       Whether to exercise supplemental jurisdiction after the federal claim has been dismissed

is discretionary. See 28 U.S.C. § 1367(c)(3). In exercising that discretion, a court should

consider “comity, judicial economy, convenience, fairness, and the like.” Roche v. John

Hancock Mut. Life Ins. Co., 81 F.3d 249, 257 (1st Cir. 1996).

       While dismissal sometimes is appropriate if all federal claims are eliminated early in the

proceedings, “each case must be gauged on its own facts” in a “pragmatic” manner, and “in ‘an

appropriate situation, a federal court may retain jurisdiction over state-law claims

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notwithstanding the early demise of all foundational federal claims.’” Id. (citations omitted).

Although this case is in its early stages, it would be appropriate for the Court to retain

jurisdiction in light of its significant investment of time and resources in connection with the

proceedings on the motion for preliminary injunction, the motion to proceed pseudonymously,

and the motion to seal, its extensive review of redactions to the record, and its attention to the

issues raised in this motion to dismiss.

        An additional factor in determining whether to exercise supplemental jurisdiction is “the

presence of novel or sensitive issues of state law.” Sexual Minorities Uganda v. Lively, 899 F.3d

24, 35 (1st Cir. 2018); see also 28 U.S.C. § 1367(c)(1). It is BC’s position that this case involves

no such issues.

                                            Conclusion

        The Court should dismiss Plaintiff’s complaint.

                                               TRUSTEES OF BOSTON COLLEGE,

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                                       Certificate of Service

        I certify that on October 18, 2019, this document was filed through the Electronic Case
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                                                       /s/Elizabeth H. Kelly
                                                        Elizabeth H. Kelly


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